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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

             HONORABLE CHARLENE EDWARDS HONEYWELL

   CASE NO. 8:20-cr-30-CEH-TGW                    DATE: June 24, 2021
  TITLE:   USA v. Jorge Ramirez
   TIME:    11:05 AM – 12:05 PM                   TOTAL: 1 hour
   Courtroom Deputy: Bettye Samuel              Interpreter: N/A


   Court Reporter: Sharon Miller                Probation: Kaleena K. Roy
   Counsel for Government:       Michael M. Gordon
   Counsel for Defendant:        Christopher George Delaughter

                                 CRIMINAL MINUTES

 Court in session and counsel identified for the record.

 Defendant sworn and adjudicated guilty as to Count One of the Indictment.

 Counsel addressed the Court.

 Defendant’s objections to the Final Presentence Investigation Report:
 Objection to Paragraphs 23, 36, 37, 42, 46, 108, and 116 (Drug Quantity and Guideline
 Computation) – OVERRULED, for the reasons stated on the record.

 Defendant addressed the Court.

 Cristina Ramirez, wife of Defendant, addressed the Court.

 Defendant’s Oral Motion for Downward Variance is GRANTED for the reasons stated
 on the record.

 Imprisonment: 188 months.

 Supervised Release: 10 years.

 Fine is waived.

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 Special Assessment: $100.00. This obligation is to be paid immediately.

 The Court makes the following recommendations to the Bureau of Prisons:

     1. Defendant be incarcerated at the closest correctional facility with the
        appropriate security level to FCC Coleman.
     2. Defendant be considered for the 500 Hour Residential Drug Abuse Program
        (RDAP), if eligible.
     3. Defendant be allowed to study for and obtain his GED.
     4. Defendant be allowed to participate in the UNICOR program, if eligible.
     5. Defendant be allowed to receive vocational training in the area of electrical
        services.

 Special conditions of supervised release:

 •      Defendant shall participate in a substance abuse program (outpatient and/or
        inpatient) and follow the probation officer’s instructions regarding the
        implementation of this court directive. Further, Defendant shall contribute to
        the costs of these services not to exceed an amount determined reasonable by
        the Probation Office’s Sliding Scale for Substance Abuse Treatment Services.
        During and upon the completion of this program, Defendant is directed to
        submit to random drug testing.

 •      Defendant shall refrain from any unlawful use of controlled substances.
        Defendant shall submit to one drug test within 15 days of placement on
        supervision and at least two periodic drug tests thereafter as directed by the
        probation officer. Defendant shall submit to random drug testing not to exceed
        104 tests per year.

 •      Defendant shall cooperate in the collection of DNA as directed by the Probation
        Officer.

 Defendant is remanded to the custody of the US Marshal.

 Defendant advised of right to appeal and of right to counsel on appeal.




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   GUIDELINE RANGE DETERMINED BY THE COURT AT SENTENCING


          Total Offense Level         35

          Criminal History Category   III

          Imprisonment Range          210 - 262 months

          Supervised Release Range    10 years

          Restitution                 N/A

          Fine Range                  $40,000 - $20,000,000

          Special Assessment          $100.00

 Court adjourned.




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